                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )      Criminal No. 3:12-00198
                                                    )      Judge Trauger
[2] GREGORY LEE GREGORY                             )
                                                    )

                                            ORDER

         It is hereby ORDERED that this case is set for a change of plea hearing on Monday,

July 22, 2013, at 1:00 p.m.

         It is so ORDERED.

         ENTER this 5th day of July 2013.




                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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